                   ………..UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF TENNESSEE
                               AT NASHVILLE
______________________________________________________________________________

MARTA MCCLANAHAN (fka MARTA                           )
STINSON) & JESSICA STINSON                            )
                                                      )
      Plaintiffs,                                     )
                                                      )
v.                                                    )       Civil Case No. _________________
                                                      )
MEDICREDIT, INC.                                      )
                                                      )
      Defendant.                                      )


                                          COMPLAINT


                                       INTRODUCTION

1.    This action arises out of Defendant Medicredit, Inc.’s (Medicredit) violations of the Fair

      Debt Collection Practices Act, 15 U.S.C. §§ 1692 et seq. (“FDCPA”) in their illegal efforts

      to collect a consumer debt from Plaintiffs Marta McClanahan (McClanahan) and Jessica

      Stinson (Stinson) and for invasion of personal and financial privacy under the FDCPA and

      Tennessee state law.

                                JURISDICTION AND VENUE

2.    Jurisdiction of this Court arises under 28 U.S.C. § 1331, 15 U.S.C. § 1692k(d), and pursuant

      to 28 U.S.C. § 1367 for pendent state law claims.

3.    Venue is proper in this District because a substantial part of the events or omissions giving

      rise to the Plaintiffs claims occurred here, the Plaintiffs resides here, and Defendant transacts

      business here.




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                                            PARTIES

4.     Plaintiff McClanahan is a natural person who resides in Williamson County, Tennessee.

5.     Plaintiff Stinson is a natural person who resides in Williamson County, Tennessee and is

       and at all times relative the adult daughter of McClanahan.

6.     Defendant Medicredit is a for-profit foreign corporation (Missouri) registered to do business

       in Tennessee that currently maintains CT Corporation System, 300 Montvue Rd, Knoxville,

       TN 37919-5546 as its registered agent.

                                     FACTUAL ALLEGATIONS

7.     Plaintiff McClanahan is a “consumer” as defined by 15 U.S.C. § 1692a(3).

8.     Plaintiff Stinson is a “consumer” as defined by 15 U.S.C. § 1692a(3).

9.     Medicredit is a “debt collector” as defined by 15 U.S.C. § 1692a(6) because it regularly

       uses the mails and/or the telephone, in its business, the principal purpose of which is to

       collect, or attempt to collect, directly or indirectly, delinquent consumer debts.

       Medicredit was acting as a debt collector, as defined in the FDCPA, as to the delinquent

       consumer debt it is attempting to collect from the Plaintiffs.

10.    Defendants have alleged that the Plaintiff incurred an obligation to pay money arising out

       of a transaction in which the money, property, insurance or services which are the subject

       of the transaction are primarily for personal, family or household purposes, and the

       obligation is therefore a “debt” as defined by 15 U.S.C. § 1692a(5), namely a debt for

       medical services allegedly originally owed by Plaintiff Stinson to Centennial Medical

       Center (debt).




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                                   Collection Communications

11.    A “communication” under the FDCPA means conveying the information regarding a debt

       directly or indirectly to any person through any medium. 15 U.S.C. § 1692a(2).

            April 6, 2018 Collection Letter & CFPB Complaint & Telephone Call

12.    On or about April 6, 2018, Medicredit sent to McClanahan a letter (collection letter) dated

       April 6, 2018 in an attempt to collect a debt for medical services obtained by Stinson at

       Centennial Medical Center. Copy of collection letter filed as exhibit 1 to this

       Complaint.

13.    On or about May 8, 2018, in response to receiving the collection letter McClanahan filed

       a complaint with the Consumer Financial Protection Bureau (CFPB) complaining that

       Medicredit had attempted to collect a debt from her that she did not owe and was

       violating the privacy rights of Stinson. Copy of CFPB complaint filed as exhibit 2 to

       this Complaint.

14.    In response to the CFBP complaint, Medicredit responded to the CFPB (response)

       indicating that it had rectified the problem; however, for no apparent reason Medicredit

       then disclosed to the CFPB that McClanahan was indebted to Medicredit on two separate

       and unrelated accounts. Copy of Medicredit CFPB response to complaint filed as

       exhibit 3 to this Complaint.

15.    Further, Medicredit attached to its response to the CFPB complaint numerous personal

       documents regarding McClanahan’s previous medical treatment including but not limited

       to an intake form and statements showing her name, address, insurance information, and

       medical procedures she had undergone.




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16.    Medicredit asserted in its response that it had on May 11, 2018 corrected the information

       and McClanahan information had been removed. See Ex. 3

17.    This was apparently not the case as on or about October 26, 2018 Medicredit called

       McClanahan in an attempt to collect the debt allegedly owed by Stinson. In response

       McClanahan again informed Medicredit that it was not her debt and not to contact her

       further.

                                                CLAIMS

18.    The FDCPA is a federal statute which regulates debt collectors in the collection of

       consumer debts. See 15 U.S.C. §§ 1692 et seq.

19.    Congress passed the FDCPA because “[t]here is abundant evidence of the use of abusive,

       deceptive, and unfair debt collection practices by many debt collectors . . . , [e]xisting

       laws and procedures for redressing these injuries are inadequate to protect consumers . . .,

       and [m]eans other than misrepresentation or other abusive debt collection practices are

       available for the effective collection of debts.” 15 U.S.C. §§ 1692 (a), (b), and (c).

20.    The purpose of the FDCPA is “to eliminate abusive debt collection practices by debt

       collectors, to insure that those debt collectors who refrain from using abusive debt

       collection practices are not competitively disadvantaged, and to promote consistent State

       action to protect consumers against debt collection abuses.” 15 U.S.C. § 1692 (e).

21.    The Sixth Circuit reaffirmed in Stratton v. Portfolio Recovery Associates, LLC, 770 F.3d.

       443, 448-449 (6th Cir. 2014) that: ‘“The Fair Debt Collection Practices Act is an

       extraordinarily broad statute’ and must be construed accordingly. Frey v. Gangwish, 970

       F.2d 1516, 1521 (6th Cir. 1992)”; see also Currier v. First Resolution Inv. Corp., 762

       F.3d 529, 533 (6th Cir. 2014).




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22.    ‘“Courts must view any alleged [FDCPA] violation through the lens of the ‘least

       sophisticated consumer’—the usual objective legal standard in consumer protection

       cases.’ Gionis v. Javitch, Block, Rathbone, LLP, 238 F. App’x 24, 28 (6th Cir. 2007).

       (internal quotation marks and citations omitted); see also Barany-Snyder v. Weiner, 539

       F.3d 327, 333 (6th Cir. 2008)”. Stratton, supra, at 450.

23.    “Debt collection is performed through ‘communication,’ . . . ‘conduct,’ . . . or ‘means’.

       These broad words suggest a broad view of what the Act considers collection . . . [I]f a

       purpose of an activity taken in relation to a debt is to ‘obtain payment’ of the debt, the

       activity is properly considered debt collection.” See Glazer v. Chase Home Fin. LLC,

       704 F.3d 453, 461 (6th Cir. 2013).

        Attempting to Collect Debt from the Plaintiff She Did Not Owe (McClanahan)

24.    By attempting to collect from McClanahan by falsely representing or implying in the

       collection letter and collection call that she was responsible for the debt when she was

       not, the Defendant falsely represented the character, amount, and legal status of a debt in

       violation of 15 U.S.C. § 1692e(2)(A), which is the use of false, deceptive, and misleading

       representations or means in connection with collection of any debt, and the use of false

       representations and deceptive means to collect or attempt to collect any debt, in violation

       of 15 U.S.C. §§ 1692e and 1692e(10), and the use of unfair means to collect or attempt to

       collect any debt and the collection of any amount not permitted by law, in violation of 15

       U.S.C. §§ 1692f and 1692f(1).

25.    By attempting to collect from McClanahan by falsely representing or implying in the

       collection letter and collection call that she was responsible for the debt when she was

       not, the Defendant falsely represented the character, amount, and legal status of a debt in




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       violation of 15 U.S.C. § 1692e(2)(A), which is the use of false, deceptive, and misleading

       representations or means in connection with collection of any debt, and the use of false

       representations and deceptive means to collect or attempt to collect any debt, in violation

       of 15 U.S.C. §§ 1692e and 1692e(10), and the use of unfair means to collect or attempt to

       collect any debt and the collection of any amount not permitted by law, in violation of 15

       U.S.C. §§ 1692f and 1692f(1).

                              Invasion of Privacy by Intrusion upon Seclusion

                                       Under the FDCPA and State Law

26.    The communication of McClanahan’s other debts and personal medical history by the

       Defendant to the CFPB was intentional or negligent conduct the natural consequence of

       which is to harass, oppress, or abuse any person in connection with collection of a debt,

       in violation of 15 U.S.C. § 1692d, and which resulted in an invasion of McClanahan’s

       personal and financial privacy by a revelation of financial and medical information to

       third parties, in violation of 15 U.S.C. § 1692c(b), and by interfering physically or

       otherwise, with the solitude, seclusion, and or private concerns or affairs of McClanahan.

       See Tenn. Code Annot. § 63-2-101(b)(2).

27.    As a result of the dissemination of financial and medical information by Defendant,

       McClanahan has suffered actual damages by Defendant in the form of emotional distress

       that has caused her anger, anxiety, fear, frustration, upset, humiliation, and

       embarrassment, amongst other negative emotions.




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                             FDCPA Violations and Invasion of Privacy By

                 Intrusion upon Seclusion Under the FDCPA and State Law (Stinson)

28.    The FDCPA bars debt collectors from communicating with third parties other than the

       consumer, the consumer’s attorney, a consumer reporting agency if otherwise permitted

       by law, the creditor, the attorney of the creditor, or the attorney of the debt collector,

       except under certain very limited circumstances enumerated by statute, i.e., acquiring the

       consumer's “location information”. 15 U.S.C. §§ 1692a(7), 1692c(b).

29.    As stated, on or about April 6, 2018, Defendant sent a collection letter to McClanahan in

       connection with collection of a debt allegedly owed by Stinson. See Ex. 1.

30.    As stated, on or about October 26, 2018, Defendant placed a telephone call to

       McClanahan in connection with collection of a debt allegedly owed by Stinson.

31.    The collection letter was a “communication” as defined by 15 U.S.C. § 1692a(2) in

       connection with collection of a debt.

32.    The collection call was a “communication” as defined by 15 U.S.C. § 1692a(2) in

       connection with collection of a debt.

33.    Prior to Defendant sending the collection letter or placing the collection call to

       McClanahan, Stinson had not given prior consent to Defendant for it to communicate

       with any third party in connection with the collection of the debt.

34.    Defendant communicated with a third party in connection with collection of a debt and

       for purposes other than to acquire “location information” about the Plaintiff, in violation

       of 15 U.S.C. § 1692b.

35.    Defendant communicated with a third party in connection with the collection of a debt,

       without Stinson’s prior consent being given directly to Defendant, without the express




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       permission of a court of competent jurisdiction, and not as reasonably necessary to

       effectuate a post judgment judicial remedy, in violation of 15 U.S.C. § 1692c(b).

36.    The communication of Stinson’s alleged debt by the Defendant to McClanahan was

       intentional or negligent conduct the natural consequence of which is to harass, oppress, or

       abuse any person in connection with collection of a debt, in violation of 15 U.S.C. §

       1692d, and which resulted in an invasion of Stinson’s personal and financial privacy by a

       revelation of financial and medical information to third parties, in violation of 15 U.S.C.

       § 1692c(b), and by interfering physically or otherwise, with the solitude, seclusion, and

       or private concerns or affairs of Stinson. See Tenn. Code Annot. § 63-2-101(b)(2).

37.    The attempt to collect the alleged debt from a third party is the use of false, deceptive,

       and misleading representations or means in connection with collection of any debt, and

       the use of false representations and deceptive means to collect or attempt to collect any

       debt, in violation of 15 U.S.C. §§ 1692e and 1692e(10), and the use of unfair means to

       collect or attempt to collect any debt, in violation of 15 U.S.C. §§ 1692f.

38.    As a result of the illegal collection communications by Defendant, Stinson has suffered

       actual damages by Defendant in the form of emotional distress that has caused her anger,

       anxiety, fear, frustration, upset, humiliation, and embarrassment, amongst other negative

       emotions.

                                                Summary

39.    The above-detailed conduct by the Defendant in connection with collection of the debt

       and in an attempt to collect the debt was conduct in violation of multiple provisions of the

       FDCPA including, but not limited to the above-cited provisions and violations of the

       Plaintiffs’ right to privacy.




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                                      TRIAL BY JURY

40.    Plaintiffs are entitled to and hereby respectfully demand a trial by jury. U.S. Const.

       amend. 7; Fed.R.Civ.P. 38.

                                    CAUSES OF ACTION

                                        COUNTS I-IX

         VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT

                          15 U.S.C. §§ 1692b, 1692c(b), 1692d, 1692e,

                 1692e(2)(A)(McClanahan only), 1692e(2)(B)(McClanahan only),

                         1692e(10), 1692f, 1692f(1) (McClanahan only)


41.    Plaintiffs incorporates by reference all of the above paragraphs as though fully stated

       herein.

42.    The foregoing acts and omissions of the Defendant constitute numerous and multiple

       violations of the FDCPA including, but not limited to each and every one of the above-

       cited provisions of the FDCPA, 15 U.S.C. §§ 1692 et seq., with respect to Plaintiffs.

43.    As a result of Defendant’s FDCPA violations, Plaintiff are entitled to actual damages

       pursuant to 15 U.S.C. § 1692k(a)(1); statutory damages in an amount up to $1,000.00

       each pursuant to 15 U.S.C. § 1692k(a)(2)(A); and, reasonable attorney’s fees and costs

       pursuant to 15 U.S.C. § 1692k(a)(3) from Defendant.

                                           COUNT X

             INVASION OF PRIVACY BY INTRUSION UPON SECLUSION
                     UNDER THE FDCPA AND STATE LAW

44.    Plaintiffs incorporate by reference all of the paragraphs of this Complaint as though fully

       stated herein.




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45.     Congress explicitly recognized a consumer’s inherent right to privacy in collection

        matters in passing the Fair Debt Collection Practices Act, when it stated as part of its

        findings:

               Abusive debt collection practices contribute to the number of personal

               bankruptcies, to marital instability, to the loss of jobs, and to invasions of

               individual privacy. 15 U.S.C. § 1692(a) (emphasis added).

46.     Defendant intentionally and/or negligently interfered, physically or otherwise, with the

        solitude, seclusion and private concerns or affairs of Plaintiffs, namely, by unlawfully

        attempting to collect a debt and by dissemination private medical and financial

        information about the Plaintiffs to third parties and thereby invaded Plaintiffs’ personal

        and financial privacy.

47.     Defendant intentionally and/or negligently caused emotional harm to Plaintiffs by

        engaging in highly offensive conduct in the course of collecting this debt, thereby

        invading and intruding upon Plaintiffs’ right to personal and financial privacy.

48.     Plaintiffs have a reasonable expectation of privacy in their solitude, seclusion, and or

        private concerns or affairs.

49.     The actions of Defendant, in engaging in the above-described illegal conduct against

        Plaintiffs, resulted in intrusions and invasions of privacy by the Defendant which

        occurred in a way that would be highly offensive to a reasonable person in that position.

50.     As a result of such invasions of privacy, Plaintiffs are entitled to actual damages in an

        amount to be determined at trial by a jury; from Defendant.




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                                  PRAYER FOR RELIEF

  WHEREFORE, Plaintiffs prays that judgment be entered against Defendant:

                                       COUNTS I-IX

      VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT

                         15 U.S.C. §§ 1692b, 1692c(b), 1692d, 1692e,

          1692e(2)(A)(McClanahan only), 1692e(2)(B)(McClanahan only),

                     1692e(10), 1692f, 1692f(1) (McClanahan only)

      for an award of actual damages pursuant to 15 U.S.C. § 1692k(a)(1) against Defendant

       and for Plaintiffs;

      for an award of statutory damages of $1,000.00 pursuant to 15 U.S.C.

       §1692k(a)(2)(A) against Defendant and for each Plaintiff;

      for an award of costs of litigation and reasonable attorney’s fees pursuant to 15 U.S.C. §

       1692k(a)(3) against Defendant and for Plaintiffs;

                                       COUNT XVIII

         INVASION OF PRIVACY BY INTRUSION UPON SECLUSION
                 UNDER THE FDCPA AND STATE LAW

      for an award of actual damages from Defendant for the emotional distress suffered as a

       result of the intentional and/or negligent FDCPA violations and intentional and/or

       negligent invasion of privacy in an amount to be determined at trial by a jury; and for

       Plaintiffs; and

      for such other and further relief, as may be just and proper.




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February 21, 2019                        Respectfully submitted,

                                         MARTA MCCLANAHAN
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